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                 UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF NEW HAMPSHIR E



United States of America

           V.                            Criminal No . 09-cr-93-01-J L

Eugene Dibbles


                                 O R D E R



     The assented to motion to reschedule jury trial (document no .

19) filed by defendant is granted .

     The court finds that the ends of justice served by granting a

continuance outweigh the best interest of the public and the

defendant in a speedy trial, 18 U .S .C . § 3161 (h) (8) (B) (iv) ,     for th e

reasons set forth in the motion .

      SO ORDERED .




                                                Joseph N . Laplant e
                                                United States District Judg e

Date : June 24, 200 9




cc : Jessica Brown, Esq .
      Kenneth Perkes, Esq .
      U .S . Marsha l
      U .S . Probation
